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   COUNTY OF ST.CLAIR
                                        COUNTY OF ST. CLAIR, MICHIGAN

                                             St. Clair County Sheriffs Office

                                      PROFESSIONAL SERVICE CONTRACT

                                    Contract Expiration Date: December 31, 2016

                   Contract- NOT TO EXCEED $1,491,363.07 (ANNUALLY $490,962)

   *Based on initial requirement from St. Clair County Sheriffs Office.
   **Not to exceed specified amount without written authorization from a St. Clair County Sheriffs Office authorized
   representative.



   This "Contract" is made between the COUNTY OF ST. CLAIR, a Michigan Constitutional
   Corporation, hereinafter called "County", and the "Contractor" as further described in the
   following Table. In this Contract, either Contractor or the County may also be referred to
   individually as a "Party" or jointly as the "Parties".

          COUNTY OF ST. CLAIR, MICHIGAN                                        Trinity Health-Michigan
                  200 Grand River                                         d/b/a St. Joseph Mercy Port Huron
               Port Huron, MI 48060                                               2601 Electric Ave.
                                                                                Port Huron, MI 48060
                      (herein, the "County")
                                                                              (herein, the "Contractor")


   This Contract is organized and divided into the following "Section" or "Sections" for the
   convenience of the Parties.

   SECTION 1. CONTRACT DOCUMENTS AND DEFINITIONS

   SECTION 2. CONTRACT EFFECTIVE DATE AND TERMINATION

   SECTION 3. SCOPE OF CONTRACTOR'S SERVICES

   SECTION 4. COUNTY PAYMENT OBLIGATION FOR CONTRACTOR'S SERVICES

   SECTION 5. CONTRACTOR ASSURANCES AND WARRANTIES

   SECTION 6. CONTRACTOR PROVIDED INSURANCE AND INDEMNIFICATION

   SECTION 7. GENERAL TERMS AND CONDITIONS

   In consideration of the mutual promises, obligations, representations, and assurances in this
   Contract, the Parties agree to the following:

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       COUNTY OF ST.CLAlR

§ 1.   CONTRACT DOCUMENTS AND DEFINITIONS

       The following words and expressions when printed with the first letter capitalized as shown
       herein, whether used in the singular or plural, possessive or non-possessive, and/or either within
       or without quotation marks, shall be defined and interpreted as follows:

       1.1.   "Contractor Employee" means without limitation, any employees, officers, directors,
              members, managers, trustees, volunteers, physicians, attorneys, and representatives of
              Contractor, and also includes any Contractor licenses, concessionaires, contractors,
              subcontractors, independent contractors, contractor's supplies, subsidiaries, joint ventures
              or partners, and/or any such persons, successors or predecessors, employees, (whether
              such persons act or acted in their personal, representative or official capacities), and/or
              any and all persons acting by, through, under, or in concert with any person who was a
              Contractor Employee at anytime during the term of this contract but, for any reason, is no
              longer employed, appointed, or elected in that capacity.

       1.2.   "Claims" means any alleged losses, claims, complaints, demands for relief or damages,
              suits, causes of action, proceedings, judgments, deficiencies, liability, penalties,
              litigation, costs, and expenses, including, but not limited to, reimbursement for
              reasonable attorney fees, witness fees, courts costs, investigation expenses, litigation
              expenses, amounts paid in settlement, and/or amounts or liabilities of any kind which are
              imposed on, incurred by, or asserted against the county, or for which the county may
              become legally and/or contractually obligated to pay or defend against, whether direct,
              indirect or consequential, whether based upon any alleged violation of the federal or the
              state constitution, any federal or state statute, rule, regulation, or any all alleged violation
              of federal or state common law, whether any such claims are brought in law or equity,
              tort, contract, or otherwise, and/or whether commenced or threatened.

       1.3.   "County" means the County of St. Clair, a Municipal and Constitutional Corporation, its
              departments, divisions, authorities, boards, committees, and "County Agent" as defined
              below.

       1.4.   "County Agent" means all elected and appointed officials, directors, board members,
              council members, commissioners, employees, volunteers, representatives, and/or any
              such persons' successors (whether such person act or acted in their personal
              representative or official capacities), and/or any persons acting by, through, under, or in
              concert with any of them. "County Agent" shall also include any person who was a
              "County Agent" anytime during the term of this Contract but, for any reason, is no longer
              employed, appointed, or elected and serving as an Agent.

       1.5.   "Day" means any calendar day, which shall begin at 12:00:01 a.m. and end at 11:59:59
              p.m.

       1.6.   "Contract Documents" This contract includes and fully incorporates herein all of the
              following documents:

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       COUNTY OF ST.CLAlR
                 1.6.1. Attachment I: Scope of Contractor's Services

                 1.6.2. Attachment II: Contractor's Fee Schedule

                 1.6.3. Attachment III: Contractor Insurance Requirements

§ 2.             CONTRACT EFFECTIVE DATE AND TERMINATION

       2.1.      The effective date of this Contract shall be December 17, 2013, and unless otherwise
                 terminated or canceled as provided below, it shall end at 11:59:59 p.m. on the "Contract
                 Expiration Date" shown on the first page of this Contract, at which time this Contract
                 expires without any further act or notice of either Party being required. The Parties are
                 under no obligation to renew or extend this Contract after the Contract Expiration Date.
                 Notwithstanding the above, under no circumstances shall this Contract be effective and
                 binding and no payments to the Contractor shall be due or owing for any Contractor
                 services until and unless:

                 2.1.1. This Contract is signed by Contractor Employee, legally authorized to bind the
                        Contractor.

                 2.1.2. Any and all Contractor Certificates of Insurance, and any other conditions
                        precedent to the Contract have been submitted and accepted by the County.

                 2.1.3. An authorized agent of the County of St. Clair, Michigan as provided for on the
                        signature page of this Contract, shall be the final signatory to this Contract.

          2.2.      Upon the expiration of this Contract the County has the option, at the County's sole
                    discretion, of requesting an extension of this Contract for an additional term
                    determined by the extensions on the same terms and conditions contained herein.
                    County shall provide Contractor with sixty (60) days' notice of its desire to extend the
                    Contract. During such sixty (60) day period, the Parties shall negotiate any changes
                    to the services and fees set forth in this Contract and in the event that an extension is
                    agreed to by both Parties the Parties will execute an amendment to this Contract
                    documenting such agreement. The County shall not be obligated to pay Contractor
                    any contract extension fee if the County elects to extend and Contractor accepts such
                    extension.

          2.3.      As a government entity, County of St. Clair tax ID#XX-XXXXXXX, the County is
                    exempt from Federal Excise, State Sales Tax, Personal Property Tax, and Use Tax.

          2.4.      The County may cancel the contract for its convenience, in whole or in part, by
                    giving the contractor written notice sixty (60) days prior to the date of cancellation. If
                    the County chooses to cancel this contract in part, the charges payable under this
                    contract shall be equitably adjusted to reflect those services that are cancelled.

          2.5.      Contractor may terminate this Contract immediately if termination is necessary, in the
                    good faith belief of Contractor's counsel, to preserve: (i) the tax-exempt status of
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       COUNTY OF ST.CLAIR
                        Contractor; (ii) Contractor's ability to receive or retain the proceeds of tax-exempt
                        bonds; (iii) Contractor's ability to participate or receive reimbursement under the
                        Medicare, Medicaid or other insurance or managed care program; or (iv) Contractor's
                        licensure or accreditation or to prevent exposing Contractor to civil or criminal
                        penalties or to comply with applicable federal, state or local laws and regulations.

              2.6.      Either Party may terminate this Contract immediately in the event of a material
                        breach of this Contract which is not cured within sixty (60) days of the non-breaching
                        Party providing notice of such material breach( es) to the breaching Party.

§ 3.   SCOPE OF CONTRACTOR'S SERVICES

       3.1.          The Contractor shall perform all services identified and itemized in Attachment I: "Scope
                     of Contractor's Services" which is attached hereto and incorporated and made part of this
                     Contract.

§ 4.   COUNTY PAYMENT OBLIGATIONS FOR CONTRACTOR'S SERVICES

       4.1.          Except as otherwise expressly provided for in this Contract, the County's sole financial
                     obligation to the Contractor for any Contractor services under this Contract shall be as
                     defined in Attachment II: "Contractor's Fee Schedule" which is attached hereto and
                     incorporated and made a part of this Contract.

                 4.1.1. In no event, shall the County's amount due and owing the Contractor for any and
                        all services rendered exceed the amount identified as the "NOT TO EXCEED
                        AMOUNT" on the first page of this Contract. In the event the Contractor can
                        reasonably foresee the total billings for its services will exceed this "NOT TO
                        EXCEED AMOUNT," the Contractor shall provide the County with notice of this
                        contingency at least 30 days before this event.

                     4.1.2. The Contractor will invoice the County per event for services rendered. The
                            County shall have no obligation to make payment until a proper invoice of service
                            is submitted.

                     4.1.3. The Contract has no security deposit requirements and no money down. The
                            County will not be responsible for any documentation fees, filing fees, title fees,
                            and insurance fees.

                     4.1.4. The invoices shall be submitted in the form requested by the County. All invoices
                            pertaining to this Contract will reference County purchase order number P4966.

       4.2.      Except as to the financial obligations described in this Section 4, under no circumstances
                 shall the County be responsible for any cost, fee, fine, penalty, or direct, indirect, special,
                 incidental or consequential damages incurred or suffered by Contractor in connection
                 with or resulting from the Contractor's providing any services under this Contract arising
                 out of this Contract or any claimed breach of this Contract.

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       COUNTY OF ST.CLAIR
       4.3.   The County has the right to offset any amounts due and owing to the Contractor should
              the County incur any cost associated with this Contract that are the obligations of the
              Contractor under this Contract.

§ 5.   CONTRACTOR'S ASSURANCES AND WARRANTIES

       5.1.   Service Warranty. Contractor warrants that all services performed hereunder will be
              performed in a manner that complies with all applicable laws, statutes, regulations,
              ordinances, and professional standards.

       5.2.   Business and Professional Licenses. The Contractor will obtain and maintain at all times
              during the term of this Contract all applicable business and professional licenses
              necessary to provide the contracted services.

       5.3.   Services and Supplies. The Contractor is responsible for providing services and supplies
              not expressly required to be provided by the County herein.

       5.4.   Taxes. The Contractor shall pay, its own local, state and federal taxes, including without
              limitation, social security taxes, and unemployment compensation taxes. The County
              shall not be liable to or required to reimburse the Contractor for any federal, state and
              local taxes or fees of any kind. The Contractor shall be responsible for any and all
              personal property taxes on any and all equipment provided under this Contract. The
              County shall not be liable to or required to reimburse the Contractor for personal property
              taxes paid.

       5.5.   Contractor's Incidental Expenses. Except as otherwise expressly provided in this
              Contract, the Contractor shall be solely responsible and liable for all costs and expenses
              incident to the performance of all services for the County including, but not limited to,
              any professional dues, association fees, license fees, fines, taxes, and penalties.

       5.6.   Right to Inspect. The County may, upon reasonable notice during Contractor's regular
              business times, inspect the plant, place of business, or work site of the Contractor or
              Subcontractor, which is pertinent to the performance of this contract.

       5.7.   Contractor Employees.

              5.7.1. Contractor shall employ and assign qualified Contractor Employees as necessary
                     and appropriate to provide the services under this Contract. Contractor shall
                     ensure all Contractor Employees have all the necessary knowledge, skill, and
                     qualifications necessary to perform the required services and possess any
                     necessary licenses, permits, certificates, and governmental authorizations as may
                     required by law.

              5.7.2. Contractor shall solely control, direct, and supervise all Contractor Employees
                     with respect to all Contractor obligations under this Contract. Contractor will be
                     solely responsible for and fully liable for the conduct and supervision of any
                     Contractor Employee.
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               5.7.3. All Contractor Employees assigned to work under this Contract may, at the
                      County's discretion, be subject to a security check and clearance by the County.
                      Such Contractor Employees will be required to sign a Confidentiality Agreement
                      provided by the Contractor if requested by the County. This documentation may,
                      upon the County's request, be made available for review and verification.

       5.8.    Contractor Employee-Related Expenses. All Contractor Employees shall be employed at
               the Contractor's sole expense (including employment-related taxes and insurance) and
               the Contractor warrants that all Contractor Employees shall fully comply with and adhere
               to all of the terms of this Contract. Contractor shall be solely and completely liable for
               any and all applicable Contractor Employee's federal, state, or local payment
               withholdings or contributions and/or any and all Contractor Employees related pension or
               welfare benefits plan contribution under federal or state law. Contractor shall indemnify
               and hold the County harmless for all Claims against the County by any Contractor
               Employee, arising out of any contract for hire or employer-employee relationship
               between the Contractor and any Contractor Employee, including, but not limited to,
               Worker's Compensation, disability pay or other insurance of any kind.

       5.9.    Full Knowledge of Service Expectations and Attendant Circumstances. Contractor
               warrants that before submitting its Proposal and/or entering into this Contract, it had a
               full opportunity to review the proposed services, and review all County requirements
               and/or expectations under this Contract. The Contractor is responsible for being
               adequately and properly prepared to execute this Contract. Contractor has satisfied all
               material in respects that it will be able to perform all obligations under the Contract as
               specified herein.

       5.10.   The Contractor's Relationship To The County Is That Of An Independent Contractor.
               Nothing in this Contract is intended to establish a partnership, joint venture, employer-
               employee or joint employee relationship between the County and either the Contractor or
               any Contractor Employee. All Contractor Employees assigned to provide services under
               this Contract by the Contractor shall, in all cases, be deemed employees of the Contractor
               and not employees, agents, or sub-contractors of the County.

§ 6.   CONTRACTOR INDEMNIFICATION and INSURANCE REQUIREMENTS

       6.1.    Indemnification.

               6.1.1. Contractor shall indemnify and hold the County harmless from any and all Claims
                      which are incurred by or asserted against the County by any person or entity,
                      alleged to have been caused or found to arise, from the acts, performances, errors,
                      or omissions of Contractor or Contractor's Employees arising out of the services
                      provided by Contractor under this Contract, including, without limitation, all
                      Claims relating to injury or death of any person or damage to any property.

               6.1.2. The indemnification rights contained in this Contract are in excess and over and
                      above any valid and collectible insurance rights/policies. During the term of this
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       COUNTY OF ST.CLAIR
                      Contract, if the validity or collectability of the Contractor's insurance is disputed
                      by the insurance company, the Contractor shall indemnify the County for all
                      claims asserted against the County and if the insurance company prevails, the
                      Contractor shall indemnify the County of non-collectible accounts.

              6.1.3. Contractor shall have no rights against the County for any indemnification (e.g.,
                     contractual, equitable, or by implication), contribution, subrogation, and/or any
                     other right to be reimbursed by the County except as expressly provided herein.

              6.1.4. Contractor waives and releases all actions, liabilities, loss and damage including
                     any subrogation rights it may have against the County based upon any Claim
                     brought against the County suffered by a Contractor Employee arising out of the
                     services provided by Contractor under this Contract.

       6.2.   Insurance Requirements.

              6.2.1   At all times during this Contract, the Contractor shall obtain and maintain
                      insurance according to the specifications indicated in Attachment III. The County
                      has agreed to allow the Contractor to comply with some of the insurance
                      requirements hereunder through Venzke Insurance Company, Ltd. ("Venzke"),
                      which is the Contractor's wholly owned subsidiary and which provides self-
                      insurance to the Contractor. Since Venzke is not regulated by the State of
                      Michigan and is not rated by A.M. Best, both of which are County requirements,
                      the Contractor will assure, and fully and unconditionally guarantees, that all
                      insurance obligations that may arise out of this Agreement will be fulfilled by
                      Contractor, if not through Venzke, then by any other insurer satisfactory to the
                      County or Contractor.

§ 7.   GENERAL TERMS AND CONDITIONS

       7.1    Cumulative Remedies. A Party's exercise of any remedy shall not preclude the exercise
              of any other remedies, all of which shall be cumulative. A Party shall have the right, in
              its sole discretion, to determine which remedies are to be exercised and in which order.

       7.2.   Survival of Terms and Conditions. The following terms and conditions shall survive and
              continue in full force beyond the termination and/or cancellation of this Contract (or any
              part thereof) until the terms and conditions are fully satisfied or expire by their very
              nature:

                      "CONTRACTOR'S ASSURANCES AND WARRANTIES";
                      "CONTRACTOR PROVIDED INSURANCE AND INDEMNIFICATION";
                      "DAMAGE CLEAN UP TO COUNTY PROPERTY AND/OR PREMISES";
                      "AUDIT";
                      "SEVERABILITY";
                      "GOVERNING LAW/CONSENT TO JURISDICTION AND VENUE"; AND
                      "SURVIVAL OF TERMS AND CONDITIONS".

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   COUNTY OF ST.CLAIR
   7.3.   County Right to Suspend Services. Upon written notice, the County may suspend
          performance of this Contract if Contractor has failed to comply with federal, state, or
          local laws, or any requirements contained in this Contract. The right to suspend services
          is in addition to the County's right to terminate and/or cancel this Contract. The County
          shall incur no penalty, expense, or liability to Contractor if the County suspends services
          under this Section.

   7.4.   No Third Party Beneficiaries. Except as provided for the benefit of the Parties, this
          contract does not and is not intended to create any obligation, duty, promise, contractual
          right or benefit, right to be indemnified, right to be subrogated to the Parties' rights in this
          Contract, and/or any other right, in favor of any other person or entity.

   7.5.   Compliance with Laws. Contractor shall comply with all federal, state, and local laws,
          statutes, ordinances, regulations, insurance policy requirements, and requirements
          applicable to its activities under this Contract.

   7.6.   Permits and Licenses. Contractor shall be responsible for obtaining and maintaining
          throughout the term of this Contract all licenses, permits, certificates, and governmental
          authorizations necessary to perform all of its obligations under this Contract and to
          conduct business under this Contract. Upon request by the County, Contractor shall
          furnish copies of any permit, license, certificate or governmental authorizations necessary
          to provide services under this Contract.

   7.7.   Discrimination. Contractor shall not discriminate against any employee or applicant for
          employment because of sex, race, religion, color, national origin, or handicap, or other
          protected category in violation of State and Federal law.

          7.7.1   Contractor shall promptly notify the County of any complaint or charge filed
                  and/or determination by any Court or administrative agency of illegal
                  discrimination by Contractor related to the services provided hereunder.

          7.7.2   The County, in its discretion, may consider any illegal discrimination described
                  above as breach of this Contract and may terminate or cancel this Contract
                  immediately with notice.

   7.8.   Reservation of Rights. This Contract does not, and is not intended to impair, divest,
          delegate, or contravene any constitutional, statutory, and/or other legal right, privilege,
          power, obligation, duty, or immunity of the County.

   7.9.   Conflict of Interest. Pursuant to Public Act 317 and 318 of 1968, as amended (MCL
          15.321, et seq.), no contracts shall be entered into between the County, including all
          agencies and departments thereof, and any County Agent. To avoid any real or perceived
          conflict of interest, Contractor shall identify any Contractor Employee or relative of
          Contractor's Employees who Contractor knows are presently employed by the County.
          Contractor shall give the County notice if there are any County Agents or relatives of
          County Agents who are presently employed by Contractor.

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   COUNTY OF ST.CLAlR
  7.10.     Damage Clean Up to County Property and/or Premises. Contractor shall be responsible
            for any unexpected and/or unnecessary damage to any County property, its premises, or a
            County Agent that is caused by Contractor or Contractor's Employees. If damage occurs,
            Contractor shall make necessary repairs and/or replacements to the damaged property to
            the satisfaction of the County. If the damage cannot be completed to the County's
            satisfaction, Contractor shall reimburse the County the actual cost for repairing or
            replacing the damaged property. The Contractor shall be responsible for assuring that all
            County and municipal sites are restored to their original condition.

  7.11.     Contractor Use of Confidential Information. Except as required by law or court order,
            the Contractor and/or Contractor Employees shall not reproduce, provide, disclose, or
            give access to Confidential Information to any third party, or to any Contractor
            Employee. The Contractor and the Contractor Employee shall not use the Confidential
            Information for any purpose other than performing its services under this Contract.

            7.11.1 This Contract imposed no obligation upon Contractor with respect to any
                   Confidential Information which Contractor can establish by legally sufficient
                   evidence: (i) was in the possession of, or was known by Contractor, prior to its
                   receipt from the County, without an obligation to maintain its confidentiality; or
                   (ii) is obtained by Contractor from a third party having the right to disclose it,
                   without an obligation to keep such information confidential.

            7.11.2 As used in this Contract, Confidential Information means all information that the
                   County is required or permitted by law to keep confidential.


  7.12.     Intentionally Omitted.

   7 .13.   Delegation/Subcontract/Assignment. Contractor shall not delegate, assign, or subcontract
            any obligations or rights under this Contract without the prior written consent of the
            County.

             7.13.1 The rights and obligations under this Contract shall not be diminished in any
                     manner by any such assignment, delegation or subcontract.

             7.13.2 Any assignment, delegation, or subcontract by Contractor and approved by the
                     County, must include a requirement that the assignee, delegate, or subcontractor
                     will comply with the rights and obligations contained in this Contract.

             7.13.3 The Contractor shall remain primarily liable for all work performed by any
                     subcontractors. Contractor shall remain liable to the County for any obligations
                     under the Contract not completely performed by any Contractor delegate or
                     subcontractor.

             7.13.4 Should a subcontractor fail to provide the established level of service and
                     response, the Contractor shall contract with another agency for these services in

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                     a timely manner. Any additional costs associated with securing a competent
                     subcontractor shall be the sole responsibility of the Contractor.

             7.13.5 This Contract cannot be sold.

             7.13.6 In the event that a Petition in Bankruptcy is filed and there is an assignment of
                    this Contract by a Court, the County may declare this Contract null and void.

   7.14.   Non Exclusive Contract. No provision in this Contract limits, or is intended to limit, in
           any way, the Contractor's right to offer and provide its services to the general public,
           other business entities, municipalities, or governmental agencies during or after the term
           of this Contract. Except as provided in this Contract, this Contract shall not be construed
           to guarantee the Contractor or any Contractor Employee any number of fixed or certain
           number or quantity of hours or services to be rendered to the County.

   7.15.   No Implied Waiver. Absent a written waiver, no act, failure, or delay by a Party to
           pursue or enforce any right or remedy under this Contract shall constitute a waiver of
           those rights with regard to any existing or subsequent breach of this Contract. No waiver
           of any term, condition, or provision of this Contract, whether by conduct or otherwise, in
           one or more instances, shall be deemed or construed as a continuing waiver of any term,
           condition, or provision of this Contract. No waiver by either Party shall subsequently
           affect its right to require strict performance of this Contract.

   7.16.   Severability. If a court of competent jurisdiction finds a term, condition, or provision of
           this Contract to be illegal or invalid, then the term, condition, or provision shall be
           deemed severed from this Contract. All other terms, conditions, and provisions of this
           Contract shall remain in full force and effect. Notwithstanding the above, if Contractor's
           promise to indemnify or hold the County harmless is found illegal or invalid, Contractor
           shall contribute the maximum it is permitted to pay by law toward the payment and
           satisfaction of any Claims against the County.

   7.17.   Captions. The section and subsection numbers, captions, and any index to such sections
           and subsections contained in this Contract are intended for the convenience of the reader
           and are not intended to have a substantive meaning and shall not be interpreted to limit or
           modify any substantive provisions of this Contract. Any use of the singular or plural
           number, any reference to the male, female, or neuter genders, and any possessive or non-
           possessive use in this Contract shall be deemed the appropriate plurality, gender or
           possession as the context requires.

   7.18. Notices. Notices given under this Contract shall be in writing addressed to the person
         listed below and shall be delivered by certified mail with signature required. Notice will
         be deemed given when the person listed below has signed the certified receipt of mailed
         letter.

           7.18.1. If notice is sent to the Contractor, it shall be addressed to:
                           Trinity Health-Michigan
                           d/b/a St. Joseph Mercy Port Huron
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   COUNTY OF ST.CLAlR
                            Attn: President and Chief Executive Officer
                           2601 Electric Ave.
                           Port Huron, MI 48060

            7.18.2. If notice is sent to the County, it shall be addressed to:
                           County of St Clair, MI
                           Attn: Accounts Payable
                           200 Grand River, Ste 203
                           Port Huron, MI 48060

            7.18.3 Either Party may change the address or individual to which notice is sent by
                   notifying the other party in writing of the change.

   7.19.    Contract Modifications of Amendments. Any modifications, amendments, recessions,
            waivers, or releases to this Contract must be in writing agreed to by both Parties. Unless
            otherwise agreed, the modification, amendment, recession, waiver, or release shall be
            signed by an expressly authorized Contractor Employee and by the same person who
            signed the Contract for the County or other County Agent as authorized by the County
            Administrator/Controller.

   7.20.    Precedence of Documents. In the event of a conflict between the terms and conditions in
            any of the documents comprising this Contract, the conflict shall be resolved as follows:

            7.20.1 The terms and conditions contained in this main Contract document shall prevail
                   and take precedence over any allegedly conflicting provisions in all other
                   attachments or documents.

   7.21.    Governing Laws/Consent to Jurisdiction and Venue. This Contract shall be governed,
            interpreted, and enforced by the laws of the State of Michigan. Except as otherwise
            required by law or court rule, any action brought to enforce, interpret, or decide any
            Claim arising under or related to this Contract shall be brought in the 31st Circuit Court of
            the State of Michigan or the 72nd District Court of the State of Michigan, as dictated by
            applicable jurisdiction of the court. Except as otherwise required by law or court rule,
            venue is proper in the courts set forth above. The choice of forum set forth above shall
            not be deemed to preclude the enforcement of any judgment obtained in such forum or
            taking action under this Contract to enforce such judgment in any appropriate
            jurisdiction.

   7 .22.   Entire Contract. This Contract represents the entire Contract and understanding between
            the Parties. This Contract supersedes all other prior oral or written understandings,
            communications, agreements or Contracts between the Parties. The language of this
            Contract shall be construed as a whole according to its fair meaning, and not construed
            strictly for or against any Party.

   The undersigned executes this Contract on behalf of Contractor and the County, and by doing so
   legally obligates and binds Contractor and the County to the terms and conditions of this
   Contract.
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   COUNTY OF ST.CLAlR

   FOR THE CONTRACTOR:


   BY:~~
       Rebekah J. Sm1th, President and CEO


   FOR THE COUNTY:




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   COUNTY OF ST.CLAIR

                                          ATTACHMENT I

                             SCOPE OF CONTRACTOR'S SERVICES

   In support of the services set forth herein to be provided by SJMPH (as defined below), the
   Correctional Facility (as defined below) will provide the following:

           Medical office;
           Medical file room;
           Nurse's station;
           Exam room and exam table; and
           Medication cart.

   CONTRACTOR'S SERVICES

   As used in this Attachment I, Contractor may be referred to as "St. Joseph Mercy Port Huron",
   "SJMPH", "St. Joseph Mercy Port Huron-Correctional Health Care Services" or "SJMPH-
   CHCS".

   Per RFP SOIC-0326-252:

   ONSITE NURSING, INCLUDING HEALTH APPRAISALS, TRIAGING OF COMPLAINTS

     SJMPH-CHCS will provide a comprehensive and integrated system of medical care and
     coordination of health services to inmates at the St. Clair County Correctional Facility
     (respectively, "Inmates" and "Correctional Facility") as follows:

       •   Healthcare services: SJMPH-CHCS will provide/coordinate healthcare and related
           services consistent with community standards as detailed in the standards for the
           National Commission on Correctional Health Care ("NCCHC") as well as per mandates
           from the courts and other criminal justice agencies, when applicable.
       •   Coordination of services: During incarceration, SJMPH-CHCS will include providing
           evidence-based nursing and medical care to meet the health care needs of each Inmate.
           SJMPH-CHCS will provide for coordination of dental care, medication management
           services, and other specialty care services with the County's contractors of choice,
           where applicable.
       •   Documentation: SJMPH-CHCS will utilize a manual (paper), Health Insurance
           Portability and Accountability Act of 1996 ("HIP AA") security and privacy compliant,
           medical record documentation process that ensures all required documentation ofhealth
           care services.
       •   Discharge planning and health education: The SJMPH-CHCS nursing staff will include
           a discharge planning program and health related education that will improve Inmate
           understanding and develop links between Inmates and existing community-based health
           and human services, in preparation for release from Correctional Facility.


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    COUNTY OF ST.CLAlR
   Work Plan

      Healthcare Services:
       • Onsite nursing coverage: will include a Licensed Practical Nurse (LPN) onsite 24/7 and
           a Registered Nurse (RN) Coordinator/Case Manager ("RN Coordinator") on-site eight
           (8) hours per day, five (5) days per week (40 hours per week).
       • SJMPH-CHCS nursing staff services and responsibilities:
                o RN Coordinator will provide 8 hours per day of on-site services along with 24/7
                   program oversight of SJMPH-CHCS in conjunction with the
                   physician/physician extender.
                o RN Coordinator will act as a case manager for coordination of all medical
                   services for Inmates.
                o Will be educated regarding benchmark standards for the NCCHC.
                o Provide assessment and nursing care to Inmates, within the scope of the State of
                   Michigan nursing licensure guidelines and based on the nursing care standards
                   outlined in the corrections nursing scope and standards of practice. Nursing
                   care may include but is not limited to services such as glucose testing, dressing
                   changes, wound care, IV therapy, oxygen administration, peritoneal dialysis,
                   complete physical assessment, oral and dental assessment (includes assessment
                   of mucosal integrity, bleeding gums, and abscessed teeth).
                o Rounding with the physician/physician extender when onsite.
                o Will review the County supplied booking assessment sheets on a daily basis and
                   take appropriate actions needed to meet necessary medical issues of Inmates.
                o Will complete the County supplied health appraisal according to the County's
                   policy following arrival to the Correctional Facility.
                o Nursing staff will review all current Inmate records to ensure documented
                   evidence of a health appraisal is completed in accordance with the
                   administrative rules for jails and lockup.
                o Inmate chronic disease and health related education: When indicated, the nurse
                   will provide Inmates with education related to their specific chronic medical
                   condition (i.e. diabetes, high blood pressure, hepatitis, HIV, etc.) and/or other
                   health related topics. Education will be tailored to the Inmate's specific learning
                   ability and identified needs.
                o Wellness and risk behavior education: When indicated, the nurse will provide
                   (or coordinate) Inmates with education related to wellness and/or risk behavior
                   topics, specific to the Inmates identified needs. Education will be tailored to the
                   Inmate's specific learning ability.
                o Care Plan development and implementation and coordination of care.
       • Sick Call: Two (2) times per week physician/physician extender will be onsite to
           provide a 2 hour physician/physician extender sick call ("Sick Call") visit for Inmates in
           need ofhealthcare services. The RN Coordinator will accompany the
           physician/physician extender during contracted Sick Call visits to assist with prescribed
           medical treatments, prescription orders, or testing modalities. The RN Coordinator will
           be responsible to review each Inmates medical treatment plan with visiting
           physician/physician extender to ensure appropriate care delivery and completeness of
           the medical record.

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   COUNTY OF ST.CLAIR
       •   Medication management, medication reconciliation process and dispensing of all Inmate
           medications and coordination of pharmacy services with the County's contracted
           pharmaceutical company.
       •   Medication and medical supply inventory management.
       •   Onsite IV therapy, when ordered by physician/physician extender.
       •   Provide onsite electrocardiogram (ECG) machine for ECG testing when ordered by
           physician/physician extender.
       •   Laboratory: Routine blood draws will be performed by the onsite nursing staff, per
           physician/physician extender order.

      Coordination of Services:
       • Dental Care: Nurses will work with the physician/physician extender and the County's
          contracted dental service provider to ensure Inmate emergency dental needs are met.
       • Mental Health and Substance Abuse: Nurse and physician/physician extender will work
          cooperatively with Community Mental Health ("CMH") coordinator and staff to ensure
          all mental health and/or substance abuse counseling needs of Inmates is met based on
          the CMH plan of care for Inmates.
       • Pharmaceuticals: Nurse and physician/physician extender will work cooperatively with
          the County's contracted Pharmacy Services company to ensure the following:
               o A controlled formulary for pharmaceuticals is in place, to minimize pharmacy
                   cost to the Correctional Facility
               o Medication reconciliation is completed for each Inmate, to ensure any Inmate
                   who is on a prescription medication, continues to receive the applicable
                   medication regimen Inmate was on prior to incarceration.
               o An appropriate medication supply is maintained onsite to meet actual and
                   potential pharmaceutical needs of Inmates.
               o Medications stored onsite are secured at all times.
               o All narcotic medications stored onsite are accounted for per applicable
                   pharmacy regulations.
       • Specialty Care Services: Inmates who require specialty medical services which fall
          outside of the medical physician scope either through the Sick Call visits or the
          telemedicine consultations will be seen at a physician's office of that specialty (e.g.,
          Asthma, Orthopedics, etc). All appointments and transportation will be coordinated by
          the onsite nursing staff located at the Correctional Facility.

     Documentation: SJMPH-CHCS nurses and physician/physician extender will maintain a
     medical record for all Inmates receiving healthcare services. The nursing staff and
     physician/physician extender will ensure that all regulatory documentation standards are met
     for healthcare medical records. Staff and physician/physician extender will ensure all patient
     rights to privacy are maintained and that SJMPH-CHCS remains compliant with all state law
     and HIP AA Security and Privacy regulations. A manual (paper) medical record
     documentation system will be utilized at the commencement of the Contract.

     Discharge planning and health education: SJMPH-CHCS will ensure the delivery of quality
     care that includes a discharge-planning process and health education that will develop links


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    COUNTY OF ST.CLAlR
      between Inmates and existing community-based health and human services in preparation for
      release from Correctional Facility.

    PHYSICIAN SERVICES, INCLUDING SICK CALL

    Project Approach/Methodology

    SJMPH will provide a physician/physician extender provide a minimum two (2) onsite visits,
    each two (2) hours in length, to the Correctional Facility each week ("Sick Call").

    Telemedicine

    In addition to the Sick Call, on call services will be provided twenty four (24) hours per day,
    seven (7) days per week through remote robotic services ("Telemedicine"). Board Certified
    emergency room physicians specially trained in triage care of all conditions and acuity will
    provide this service. Utilization of services must meet medical necessity and only administered
    for such conditions as they present themselves.

    Detoxification from alcohol, opiates, hypnotics, sedatives or stimulants will be performed under
    medical supervision in accordance with applicable laws and policies.

    Quarterly multidisciplinary quality and resource review will occur and include, at a minimum, a
    physician representative from behavioral medicine, the Director of Mental Health Services, the
    pharmaceutical provider, SJMPH-CHCS's RN Coordinator, a physician representative from
    medical services, and SJMPH-CHCS's Vice President of Operations. Any and all opportunities
    outside of regularly scheduled quarterly Quality and Resource review meetings that can result in
    better outcomes will be reviewed as they are identified.

    EMERGENCY SERVICES AND TREATMENT

    Project Approach/Methodology

    St. Joseph Mercy Port Huron will provide a comprehensive and integrated system of medical
    care and coordination of emergency services, when applicable, to Inmates with emergency
    medical conditions that cannot safely be managed by the SJMPH-CHCS team at the Correctional
    Facility. Inmates requiring services at the St. Joseph Mercy Port Huron emergency department,
    as determined by the SJMPH-CHCS physician/physician extender and/or nurse, will be
    transported by a St. Clair County Deputy ("Deputy(ies)") or via EMS, when applicable. Upon
    arrival to the ED, Inmates will receive expedited services, consistent with St. Joseph Mercy Port
    Huron's EMTALA obligations, that ensure quality emergency care is provided to meet patient
    needs, and return of Inmate to correctional facility in a timely manner.

    When care/technology is required that is not provided in our local facilities, local medical staff
    will coordinate timely transfers.

    Work Plan

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   COUNTY OF ST.CLAIR

   Special considerations for Deputies and Inmates:

       •   The nursing staff at the Correctional Facility will notify the Emergency Department
           ("ED") if an Inmate is being transported for treatment.
       •   Upon arrival to the SJMPH Emergency Department (via the ambulance entrance), the
           Inmate will immediately be taken to an ED examination room to begin the intake
           process (County Correctional Facility policy/protocol regarding Deputy remaining in
           attendance, security and use of administrative restraints on Inmates will be followed).
       •   If no ED examination room is immediately available, due to influx of critical and/or
           urgent ED patients, a secure secondary location near the ED will be utilized.
       •   Care of the Inmate will be provided per ED protocol/policies to meet Inmate's
           emergency healthcare needs.
       •   The ED physician will discuss and provide the written treatment plan of care with the
           Inmate and the Deputy in attendance. All intentions will be to treat the patient
           effectively and return Inmate to the County Correctional Facility.
       •   In the event the Inmate requires admission to the hospital, the hospital staff and County
           Deputy staff will coordinate services to ensure security of the Inmate and safety of staff
           and other patients is maintained while Inmate receives needed healthcare.
       •   All ED services (and inpatient services, when applicable) will be billed to the Inmates
           health insurance plan by SJMPH. In the event an Inmate does not have health insurance,
           emergency service providers and SJMPH will bill the County Correctional Facility at an
           agreed upon fee schedule.
       •   All emergency department physician services will be billed separately to the County per
           any agreement with the County by the physician group.

   ANCILLARY SERVICES

   Laboratory

   Project Approach/Methodology

   St Joseph Mercy Port Huron laboratory staff will train the onsite SJMPH-CHCS nursing staff to
   collect specimens appropriate in the setting. This will include drawing blood, filling out urine
   chain of custody forms, chain of custody specimen collection rules, and collecting culture
   specimens. Specimen transport will be performed daily for routine results and for STAT results.
   Collection, testing and reporting will be completed per SJMPH-CHCS and County policies and
   protocols and results printed or faxed to ordering physician/physician extender and to the nurse
   onsite for medical records.
   Cost of laboratory testing will be billed by to the Inmate's health insurance plan by SJMPH. In
   the event the Inmate does not have health insurance, the County would be billed for the agreed
   upon laboratory fee schedule.

   Cardiac Testing


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    COUNTY OF ST.CLAlR
    Project Approach/Methodology

    St Joseph Mercy Port Huron cardiopulmonary staff will train the onsite SJMPH-CHCS nursing
    staff to perform ECG testing. SJMPH will provide an ECG machine onsite and ECG testing will
    be provided by trained personnel when ordered by physician/physician extender.


    Diagnostic Imaging

    Project Approach/Methodology

    St Joseph Mercy Port Huron diagnostic imaging department staff will provide on-site routine
    radiology imaging procedures and scheduled routine ultra sound imaging procedures, Monday
    through Friday on the day shift only. This will include a portable x-ray machine that will be
    stationed at the Correctional Facility and a portable ultra sound unit that would be transported
    from SJMPH to the Correctional Facility when a patient requires an ultrasound and it can be
    scheduled with SJMPH's radiology department.

    Work Plan

       Proposed approach and methodology to perform this service:

        •   SJMPH would provide portable x-ray imaging equipment on-site that can be moved to
            designated location to service inmates.
        •   Upon receiving physician/physician extender order, diagnostic x-ray imaging services
            would be provided as follows:
                 o For non-emergency routine radiology imaging procedures (i.e. may include
                    extremities and chest x-rays), SJMPH-CHCS nurse would inform SJMPH
                    diagnostic imaging department of need for routine radiology imaging procedure.
                    Radiology technician will come to County Correctional facility and perform the
                    routine radiology imaging procedure.
                 o For emergency level radiology imaging requests (i.e., head-injuries, severe chest
                    pain, obvious fractures, etc.), Inmates will need to be transported to SJMPH via
                    appropriate transportation method for the appropriate examination and imaging
                    procedures.
                 o For non-emergency procedures, that are not routine radiology imaging
                    procedures (i.e., skull work, abdominal studies, spine work and other more
                    extensive procedures), Inmates will need to be transported to the hospital.
                 o For routine ultrasound studies ordered by the physician/physician extender,
                    SJMPH-CHCS nurse will contact the SJMPH ultrasound department that an
                    inmate needs to be scheduled for a routine ultrasound (emergent/urgent
                    ultrasounds would require inmate transport to the hospital for testing).
                 o SJMPH ultrasound staff would transport the ultrasound equipment to the
                    Correctional Facility and would perform the test on the Inmate.
                 o Documented results are available upon completion of the radiologist
                    interpretation.

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   COUNTY OF ST.CLAIR
               o Cost of diagnostic test procedures would be billed to an Inmates health
                 insurance company. In the event the Inmate does not have health insurance, the
                 Correctional Facility would be billed for the agreed upon fee schedule.
               o Radiologist interpretation will be billed separately to the County per any
                 agreement with the County by the physician group.


      Ambulance

      Project Approach/Methodology and Work Plan

     SJMPH will coordinate with Correctional Facility staff to make arrangements when the
     immediate transfer of an Inmate is required by ambulance with the preferred ambulance
     provider.

      Dental Care

     Proiect Approach/Methodology

     SJMPH will make arrangements for Inmates requiring dental services with the County's
     preferred provider(s) once it has been determined that the Inmate needs dental services.
     SJMPH would not be responsible for the cost of the services from the dental provider.

     Medical Records

     Project Approach/Methodology

     SJMPH staff, both employed and subcontracted, will maintain a complete health record on
     each Inmate that is:
       • Safeguarded in a securely locked area within the medical unit
       • Maintained separately from detention records
       • Available to all practioners
       • In the format and type consistent with the County's policies and procedures for
           documentation
       • Maintained in accordance with approved Release of Information policies and transfer of
          records policy and procedures. In the event that policies need to be created or revised,
           we would work with the St. Clair County Sheriff Department to create and implement
          policies and procedures that are compliant with HIP AA, State of Michigan
           confidentiality laws, and appropriate for government agencies involved.
       • Compliant in all aspects with HIP AA and State of Michigan confidentiality laws.




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   COUNTY OF ST.CLAIR
   Pharmaceutical Supplies

   Project Approach/Methodology

   SJMPH will work with County vendors to manage pharmaceutical cost through a collaborative
   relationship.

   MEDICAL SUPPLIES

   SJMPH, in the course of providing healthcare services to the Inmates in the Correctional Facility
   and at SJMPH will provide the medical supplies.

   SPECIAL MEDICAL PROGRAMS

   Project Approach/Methodology

   To prevent costly Emergency Department visits and hospitalizations, the SJMPH-CHCS
   program will include focused attention on Inmates with special medical conditions that require
   close medical supervision and management of complex or multiple chronic conditions, such as
   diabetes, congestive heart failure, hypertension, obesity, etc. Close monitoring and intervention
   management will be provided by the SJMPH-CHCS nursing staff and physician/physician
   extenders. Care and interventions that are implemented will be based on the physician/physician
   extenders individualized patient treatment plan and the nursing care plan. The plan will include
   direction to the nursing staff and others involved in the patients care (i.e. CMH, St. Clair County
   Health Department, etc.), regarding special needs of the patient. Patient engagement will be
   encouraged through patient involvement in care and patient education on his/her specific disease
   processes.

   When applicable, the SJMPH-CHCS nurse will contact the St. Clair County Health Department
   certified HIV counseling staff to provide health care counseling and education to the Inmate for
   pre and post HIV testing or treatment.

   MENTAL HEALTH PROGRAM

   Project Approach/Methodology

   SJMPH-CHCS physician and nursing staff will collaborate with St. Clair County Community
   Mental Health or consult the Inmates existing mental health provider (when applicable) to
   provide for the Inmates mental health needs. Those Inmates that do not qualify for services
   through CMH will be managed by the SJMPH-CHCS nursing and physician/physician extender.
   These Inmates may include those who have no history of mental health treatment, not currently
   on prescribed psychotropic medications. For those Inmates not currently under CMH care,
   exhibiting mild to moderate behavioral issues, our physician/physician extenders will consult
   with CMH psychiatrists for appropriate medication and treatment. Care will include, and is not
   limited to working with CMH and specialists, to provide Inmate with crisis intervention, suicide
   prevention, counseling and administration of psychotropic medications.

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   COUNTY OF ST.CLAlR

   SJMPH-CHCS will collaborate with CMH to provide Telemedicine mental health services when
   appropriate, avoiding delays in treatment and off site transfers.

   ADMINISTRATION

   Project Approach/Methodology

   SJMPH-CHCS physician/physician extender and health care team will provide the medical care,
   nursing care and oversight of other health care service needs of Inmates in the Correctional
   Facility. As permitted by law and third-party agreements, and within the scope of services
   offered by SJMPH and other collaborating agencies, the physician/physician extender and the
   RN Coordinator will be responsible for planning, implementing, and directing operational
   functions of health care services of the Correctional Facility. The RN Coordinator will
   coordinate information between SJMPH-CHCS and County officials. The RN Coordinator will
   be responsible for recruiting, orienting and scheduling all SJMPH medical personnel and
   assisting in arranging in-service training sessions, in conjunction with the St. Clair County
   correctional officials.

   Staff Qualifications/Experience

       •   Qualified and experienced Registered Nurses (RN) as well as Licensed Practical Nurses
           (LPN's), who are licensed in the State ofMichigan will be hired to staffSJMPH-CHCS
           at the Correctional Facility 24/7.
       •   All nursing staff will maintain their Basic Cardiac Life Support (BCLS) certification.
       •   Specimen collection and processing will be performed by trained nursing staff onsite in
           the Corrections Facility. All laboratory testing will be performed in the laboratory by
           trained and certified laboratory technologists.
       •   Qualified and experienced Registered Imaging Technologists and Ultrasonographers,
           who are registered with the ARRT (American Registry of Radiologic Technologists)
           will be utilized for all diagnostic imaging services.
       •   The SJMPH emergency department is staffed at all times with highly skilled and
           experienced Board Certified Physicians and Registered Nurses who are certified in
           multiple Emergency Medicine and Emergency Nursing specialty programs.




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   COUNTY OF ST.CLAlR
                                                                                                 ATTACHMENT II
                                                                                            CONTRACTOR'S FEE SCHEDULE

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   COUNTY OF ST.CLAlR
   The agreed upon discounted rates for those services to be billed directly by SJMPH shall be 53%
   of SJPMH's charges.




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    COUNTY OF ST.CLAlR

                                          ATTACHMENT III

                          CONTRACTOR'S INSURANCE REQUIREMENTS

    The Contractor, and any and all of their subcontractors, shall not commence work in the County
    of St. Clair until they maintain or have obtained the insurance required under this paragraph. All
    insurance coverage required herein shall be provided through contractor's self-insurance program
    or with insurance companies licensed and admitted to do business in the State of Michigan. All
    coverage(s) shall be with insurance carriers acceptable to the County of St. Clair.

    IS]    Workers' Compensation Insurance: The Contractor shall procure and maintain during
           the life of the contract, Workers' Compensation Insurance, including Employers'
           Liability Coverage, in accordance with all applicable statutes of the State of Michigan.

    IS]    Commercial General Liability Insurance: The Contractor shall procure and maintain
           during the life of the Contract, Commercial General Liability Insurance on an "Claims
           Made" with limits ofliability not less than $3,000,000.00 per claim and aggregate
           combined single limit for Personal Injury, Bodily Injury and Property Damage. Upon
           termination or expiration of the Contract, Contractor will assure that such Commercial
           General Liability Insurance is in effect through an extended reporting "tail" coverage
           covering all periods during which Contractor provided services under this Contract

    IS]    Motor Vehicle Liability: The Contractor shall procure and maintain during the life of
           this contract Motor Vehicle Liability Insurance, including Michigan No-Fault Coverages,
           with limits ofliability not less than $3,000,000.00 per occurrence combined single limit
           for Personal Injury, Bodily Injury and Property Damage. Coverage shall include all
           owned vehicles, all non-owned vehicles and all hired vehicles.

    IS]    Professional Liability: Professional Liability (medical malpractice) in an amount not
           less than $1,000,000 per occurrence and aggregate. Ifthis policy is claims made form,
           then the Contractor shall be required to keep the policy in force, or purchase "tail"
           coverage, for a minimum of three (3) years after the termination of this Contract.

    IS]    Additional Insured: Commercial General Liability and Motor Vehicle Liability, as
           described above, shall provide the County of St. Clair as an additional insured with
           respect to this Agreement. It is understood and agreed by adding the County of St. Clair
           as an additional insured, coverage afforded is considered to be primary and any other
           insurance the County of St. Clair may have in effect shall be considered secondary and/or
           excess.

    Cancellation Notice

           The Contractor shall provide Thirty (30) days advance written notice of cancellation and
           Ten (10) days' notice for non-payment of premiums, non-renewal, reduction and/or
           material change to the County of St. Clair with respect to the Workers' Compensation
           Insurance, Commercial General Liability Insurance, and Motor Vehicle Liability
                                                   24
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   COUNTY OF ST.CLAIR
         Insurance described above. Such written notice shall be sent to: County of St. Clair,
         Attn: Danielle Hazlewood, Risk Management Coordinator, 200 Grand River Ave., Ste.
         203, Port Huron, MI 48060.

         If any of the above coverages expire during the term of the contract, the Contractor shall
         deliver renewal certificates to the County of St. Clair at least Ten (10) days prior to the
         expiration date.

   Proof of Insurance Coverage

         The Contractor shall provide the County of St. Clair at the time of execution of the
         Contract, copies of certificates as listed below:
                cgj Certificate oflnsurance for Workers' Compensation Insurance;
                cgj Certificate of Insurance for Commercial General Liability Insurance;
                cgj Certificate of Insurance for Vehicle Liability Insurance;
                cgj Certificate of Insurance for Professional Liability Insurance;

                D Certified Copies of all policies mentioned above.
   Please direct all questions or inquiries
   relative to contractor insurance requirements to:
   Danielle Hazlewood, Risk Management Coordinator
   County of St. Clair
   200 Grand River Ave., Ste. 203
   Port Huron, MI 48060
   Phone: (810) 989-6313
   Fax: (81 0) 985-3463
   Email: dhazlewood@stclaircounty. org




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